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MIDDLE DISTRICT OF FLORIDA 5
ORLANDO DIVISION ,`:-; " z " “" "‘ C‘
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TICKLING KEYS, INC., a Florida
corporation, individually and as the
representative of a class of similarly-
situated persons,
Civil Action No.:

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V.

TRANSAMERICA FINANCIAL
ADVISORS, INC., WORLD FINANCIAL
GROUP, INC., Delaware corporations,
WORLD FINANCIAL GROUP
INSURANCE AGENCY, INC., a
California corporation, and JOHN DOES
1-5,

VV\/`_/V\/V`./VVVV\_/VVVVV

Defendants.

CLASS ACTION COMPLAINT
Plaintiff, TICKL[NG KEYS, INC. (“Plaintiff”), brings this action on behalf of itself and
all others similarly situated, through its attorneys, and except as to those allegations pertaining to
Plaintiff or its attorneys, which allegations are based upon personal knowledge, alleges the
following upon information and belief against Defendants, TRANSAMERICA FINANCIAL
ADVISORS, INC., WORLD FINANCIAL GROUP, INC., WORLD FINANCIAL GROUP

INSURANCE AGENCY, INC. and JOHN DOES 1-5 (“Defendants”):

PRELIMINARY STATEMENT
1. This case challenges Defendants’ practice of sending unsolicited facsimiles.
2. The federal Telephone Consumer Protection Act of 1991, as amended by the Junk

Fax Prevention Act of 2005, 47 USC § 227 (“JFPA” or the “Act”), and the regulations

promulgated under the Act, prohibit a person or entity from faxing or having an agent fax

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advertisements without the recipient’s prior express invitation or permission. The JFPA provides
a private right of action and provides statutory damages of $500 per violation. Upon information
and belief, Defendants have sent facsimile transmissions of unsolicited advertisements to
Plaintiff and the Class in violation of the JFPA, including, but not limited to, the facsimile
transmission of an unsolicited advertisement on or about August 31, 2015 (“the Fax”), a true and

correct copy of which is attached hereto as Exhibit A and made a part hereof. The Fax describes

 

the commercial availability or quality of Defendants’ products, goods and services. Plaintiff is
informed and believes, and upon such information and belief avers, that Defendants have sent,
and continue to send, unsolicited advertisements via facsimile transmission in violation of the
JFPA, including but not limited to those advertisements sent to Plaintiff.

3. Unsolicited faxes damage their recipients. A junk fax recipient loses the use of its
fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable time that
would have been spent on something else. A junk fax interrupts the recipient’s privacy.
Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use for
authorized outgoing faxes, cause undue wear and tear on the recipients’ fax machines, and
require additional labor to attempt to discern the source and purpose of the unsolicited message.

4. On behalf of itself and all others similarly situated, Plaintiff brings this case as a
class action asserting claims against Defendants under the JFPA, Plaintiff seeks to certify a class
including faxes sent to Plaintiff and other advertisements sent without proper opt-out language or
without prior express invitation or permission, whether sent to Plaintiff or not.

5. Plaintiff is informed and believes, and upon such information and belief avers,
that this action is based upon a common nucleus of operative facts because the facsimile
transmissions at issue were and are being done in the same or similar manner. This action is

based on the same legal theory, namely liability under the JFPA, This action seeks relief

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expressly authorized by the JFPA: (i) injunctive relief enjoining Defendants, their employees,
agents, representatives, contractors, affiliates, and all persons and entities acting in concert with
them, from sending unsolicited advertisements in violation of the JFPA; and (ii) an award of
statutory damages in the minimum amount of $500 for each violation of the JFPA, and to have
such damages trebled, as provided by § 227(b)(3) of the Act.

JURISDICTION AND VENUE

 

6. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C.
§ 227.

7. This court has personal jurisdiction over Defendants because Defendants transact
business within this judicial district, have made contacts within this judicial district, and/or have
committed tortious acts within this judicial district.

PARTIES

8. Plaintiff, 'I`ICKLING KEYS, INC., is a Florida corporation, with its principal
place of business in Merritt Island, Florida.

9. On information and belief, Defendants, TRANSAMERICA FINANCIAL
ADVISORS, INC. and WORLD FINANCIAL GROUP, INC., are Delaware corporations

10. On information and belief, Defendant, WORLD FINANCIAL GROUP
INSURANCE AGENCY, INC., is a Califomia corporation.

ll. JOHN DOES 1-5 will be identified through discovery, but are not presently
known.

FA_CTS

12. On information and belief, on or about August 31, 2015, Defendants used a

telephone facsimile machine, computer, or other device to send an unsolicited facsimile to

Plaintiff. A copy of the facsimile is attached hereto as Exhibit A.

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13. On information and belief, Defendants receive some or all of the revenues from
the sale of the products, goods and services advertised on Exhibit A, and Defendants profit and
benefit from the sale of the products, goods and services advertised on Exhibit A.

l4. Plaintiff did not give prior express invitation or permission to Defendants to send
the fax.

15. On information and belief, Defendants faxed the same and other unsolicited
facsimiles without the required opt-out language to Plaintiff and at least 40 other recipients or
sent the same and other advertisements by fax With the required opt-out language but without
first receiving the recipients’ express invitation or permission and without having an established
business relationship as defined by the TCPA and its regulations

16. There is no reasonable means for Plaintiff (or any other class member) to avoid
receiving unauthorized faxes, Fax machines are left on and ready to receive the urgent
communications their owners desire to receive.

17. Defendants’ facsimile attached as Exhibit A does not display a proper opt-out
notice as required by 47 C.F.R. § 64.1200.

CLASS ACTION ALLEGATIONS

 

18. In accordance with Fed. R. Civ. P. 23(b)(l), (b)(2) and (b)(3), Plaintiff brings this
class action pursuant to the JFPA, on behalf of the following class of persons:

All persons who (l) on or after four years prior to the filing of this
action, (2) were sent telephone facsimile messages of material
advertising the commercial availability or quality of any property,
goods, or services by or on behalf of Defendants, (3) from whom
Defendants did not obtain “prior express invitation or permission”
to send fax advertisements, or (4) with whom Defendants did not
have an established business relationship, or (5) where the fax
advertisements did not include an opt-out notice compliant with 47
c.F.R. § 64.1200(3)(4)(iii).

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Excluded from the Class are the Defendants, their employees, agents and members of the
Judiciary. Plaintiff seeks to certify a class which include but are not limited to the fax
advertisements sent to Plaintiff, Plaintiff reserves the right to amend the class definition upon
completion of class certification discovery.

19. Class Size (Eed. R. Civ. P. 23(al§l l): Plaintiff is informed and believes, and upon
such information and belief avers, that the number of persons and entities of the Plaintiff Class is
numerous and joinder of all members is impracticable Plaintiff is informed and believes, and
upon such information and belief avers, that the number of class members is at least foity.

20. Commonalitv (Fed. R. Civ. P. 23 (a) (2)): Common questions of law and fact
apply to the claims of all class members. Common material questions of fact and law include, but
are not limited to, the following:

(a) Whether the Defendants sent unsolicited fax advertisements;

(b) Whether Defendants’ faxes sent to other persons, not the Plaintiff,
constitute advertisements;

(c) Whether the Defendants’ faxes advertised the commercial availability or
quality of property, goods, or services;

(d) The manner and method the Defendants used to compile or obtain the list
of fax numbers to which they sent Exhibit A, other unsolicited faxed advertisements or
other advertisements without the required opt-out language;

(e) Whether the Defendants faxed advertisements without first obtaining the
recipient’s prior invitation or permission;

(f) Whether the Defendants sent the faxed advertisements knowingly;

(g) Whether the Defendants violated the provisions of 47 U.S.C. § 227 and

the regulations promulgated thereunder;

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(h) Whether the faxes contain an “opt-out notice” that complies with the
requirements of § (b)(l)(C)(iii) of the Act, and the regulations promulgated thereunder,
and the effect of the failure to comply with such requirements;

(i) Whether the Defendants should be enjoined from faxing advertisements in
the future;

(i) Whether the Plaintiff and the other members of the class are entitled to
statutory damages; and

(k) Whether the Court should award treble damages
21. TvDicalitv (Fed. R. Civ. P. 23 (a) g3)): The Plaintiff‘s claims are typical of the

claims of all class members. The Plaintiff received the same or similar faxes as the faxes sent by
or on behalf of the Defendants advertising products, goods and services of the Defendants during
the Class Period. The Plaintiff is making the same claims and seeking the same relief for itself
and all class members based upon the same federal statute. The Defendants have acted in the
same or in a similar manner with respect to the Plaintiff and all the class members by sending
Plaintiff and each member of the class the same or similar faxes or faxes which did not contain
the proper opt-out language or were sent without prior express invitation or permission.

22. Fair and Adeguate Representation gfed. R. Civ. P. 23 (a) (4)): The Plaintiff will
fairly and adequately represent and protect the interests of the class. It is interested in this matter,
has no conflicts, and has retained experienced class counsel to represent the class.

23. Need for Consistent Standards and Practical Effect of Adiudication (Fed. R. Civ.
P. 23 (b) gl)): Class certification is appropriate because the prosecution of individual actions by
class members would: (a) create the risk of inconsistent adjudications that could establish

incompatible standards of conduct for the Defendants, and/or (b) as a practical matter,

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adjudication of the Plaintiffs claims will be dispositive of the interests of class members who are
not parties.

24. Common Conduct (Fed. R. Civ. P. 23 (b) (2)): Class certification is also
appropriate because the Defendants have acted in the same or similar manner with respect to all
class members thereby making injunctive and declaratory relief appropriate. The Plaintiff
demands such relief as authorized by 47 U.S.C. §227.

25. Predominance and Superioritv (Fed. R. Civ. P. 23 (b) (3)): Common questions of
law and fact predominate over any questions affecting only individual members, and a class
action is superior to other methods for the fair and efficient adjudication of the controversy
because:

(a) Proof of the claims of the Plaintiff will also prove the claims of the class
without the need for separate or individualized proceedings;

(b) Evidence regarding defenses or any exceptions to liability that the
Defendants may assert and attempt to prove will come from the Defendants’ records and
will not require individualized or separate inquiries or proceedings;

(c) The Defendants have acted and are continuing to act pursuant to common
policies or practices in the same or similar manner with respect to all class members;

(d) The amount likely to be recovered by individual class members does not
support individual litigation. A class action will permit a large number of relatively small
claims involving virtually identical facts and legal issues to be resolved efficiently in one
proceeding based upon common proofs; and

(e) This case is inherently manageable as a class action in that:

(i) The Defendants identified persons to receive the fax transmissions

and it is believed that the Defendants’ and/or Defendants’ agents’ computers and

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business records will enable the Plaintiff to readily identify class members and
establish liability and damages;

(ii) Liability and damages can be established for the Plaintiff and the
class with the same common proofs;

(iii) Statutory damages are provided for in the statute and are the same
for all class members and can be calculated in the same or a similar manner;

(iv) A class action will result in an orderly and expeditious
administration of claims and it will foster economics of time, effort and expense;

(v) A class action will contribute to uniformity of decisions
concerning the Defendants’ practices; and

(vi) As a practical matter, the claims of the class are likely to go
unaddressed absent class certification

Claim for Relief for Violation of the JFPA, 47 U.S.C. § 227 et seq.

26. The JFPA makes it unlawful for any person to “use any telephone facsimile
machine, computer or other device to send, to a telephone facsimile machine, an unsolicited
advertisement . . . .” 47 U.S.C. § 227(b)(l)(C).

27. The JFPA defines “unsolicited advertisement” as “any material advertising the
commercial availability or quality of any property, goods, or services which is transmitted to any
person without that person's prior express invitation or permission, in writing or otherwise.”
47 U.S.C. § 227 (a) (5).

28. Opt-Out Notice Requirements. The JFPA strengthened the prohibitions against
the sending of unsolicited advertisements by requiring, in § (b)(l)(C)(iii) of the Act, that senders

of faxed advertisements place a clear and conspicuous notice on the first page of the transmission

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that contains the following among other things (hereinaiier collectively the “Opt~Out Notice
Requirements”):

(1) A statement that the recipient is legally entitled to opt-out of receiving
future faxed advertisements - knowing that he or she has the legal right to request an opt-
out gives impetus for recipients to make such a request, if desired;

(2) A statement that the sender must honor a recipient’s opt-out request within
30 days and the sender’s failure to do so is unlawful - thereby encouraging recipients to
opt-out, if they did not want future faxes, by advising them that their opt-out requests will
have legal “teeth”;

(3) A statement advising the recipient that he or she may opt-out with respect
to all of his or her facsimile telephone numbers and not just the ones that receive a faxed
advertisement from the sender - thereby instructing a recipient on how to make a valid
opt-out request for all of his or her fax machines;

(4) The opt-out language must be conspicuous
The requirement of (l) above is incorporated from § (b)(D)(ii) of the Act. The

requirement of (2) above is incorporated from § (b)(D)(ii) of the Act and the rules and
regulations of the Federal Communications Commission (the “FCC”) in 1[ 31 of its 2006 Report
and Order (ln the Matter of Rules and Regulations Implementing the Telephone Consumer
Protecti`on Act, Junk Preventi'on Act of 2005, 21 F.C.C.R. 3787, 2006 WL 901720, which rules
and regulations took effect on August l, 2006). The requirements of (3) above are contained in
§ (b)(2)(E) of the Act and incorporated into the Opt-Out Notice Requirements via § (b)(2)(D)(ii).
Compliance with the Opt-Out Notice Requirements is neither difficult nor costly. The Opt-Out

Notice Requirements are important consumer protections bestowed by Congress upon the

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owners of the telephone lines and fax machines giving them the right, and means, to stop
unwanted faxed advertisements

29. 2006 FCC Report and Order. The JFPA, in § (b)(2) of the Act, directed the
FCC to implement regulations regarding the JFPA, including the JFPA’s Opt-Out Notice
Requirements and the FCC did so in its 2006 Report and Order, which in addition provides
among other things:

A. The definition of, and the requirements for, an established business
relationship for purposes of the first of the three prongs of an exemption to liability under
§ (b)(l)(C)(i) of the Act and provides that the lack of an “established business
relationship” precludes the ability to invoke the exemption contained in § (b)(l)(C) of the
Act (See 2006 Report and Order 1111 8-12 and 17-20);

B. The required means by which a recipient’s facsimile telephone number
must be obtained for purposes of the second of the three prongs of the exemption under §
(b)(l)(C)(ii) of the Act and provides that the failure to comply with these requirements
precludes the ability to invoke the exemption contained in § (b)(l)(C) of the Act (See
2006 Report and Order 1111 13-16);

C. The things that must be done in order to comply with the Opt-Out Notice
Requirements for the purposes of the third of the three prongs of the exemption under §
(b)(l)(C)(iii) of the Act and provides that the failure to comply with these requirements
precludes the ability to invoke the exemption contained in § (b)(l)(C) of the Act (See
2006 Report and Order 1111 24-34);

D. The failure of a sender to comply with the Opt-Out Notice Requirements
precludes the sender from claiming that a recipient gave “prior express invitation or

permission” to receive the sender’s fax (See Report and Order 1[ 48).

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As a result thereof, a sender of a faxed advertisement who fails to comply with the Opt-
Out Notice Requirements has, by definition, transmitted an unsolicited advertisement under the
JFPA, This is because such a sender can neither claim that the recipients of the faxed
advertisement gave “prior express invitation or permission” to receive the fax nor can the sender
claim the exemption from liability contained in § (b)(C)(l) of the Act.

30. The Fax. Defendants sent the advertisement on or about August 31, 2015, via
facsimile transmission from telephone facsimile machines, computers, or other devices to the
telephone lines and facsimile machines of Plaintiff and members of the Plaintiff Class. The Fax
constituted an advertisement under the Act. Defendants failed to comply with the Opt-Out
Requirements in connection with the Fax. The Fax was transmitted to persons or entities Without
their prior express invitation or permission and/or Defendants are precluded from asserting any
prior express invitation or permission or that Defendants had an established business relationship
with Plaintiff and other members of the class, because of the failure to comply with the Opt-Out
Notice Requirements. By virtue thereof, Defendants violated the JFPA and the regulations
promulgated thereunder by sending the Fax via facsimile transmission to Plaintiff and members
of the Class. Plaintiff seeks to certify a class which includes this Fax and all others sent during
the four years prior to the filing of this case through the present.

31. Defendants’ Other Violations. Plaintiff is informed and believes, and upon such
information and belief avers, that during the period preceding four years of the filing of this
Complaint and repeatedly thereafter, Defendants have sent via facsimile transmission from
telephone facsimile machines, computers, or other devices to telephone facsimile machines of
members of the Plaintiff Class other faxes that constitute advertisements under the JFPA that
were transmitted to persons or entities without their prior express invitation or permission

(and/or that Defendants are precluded from asserting any prior express invitation or permission

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or that Defendants had an established business relationship because of the failure to comply with
the Opt-Out Notice Requirements in connection with such transmissions). By virtue thereof,
Defendants violated the JFPA and the regulations promulgated thereunder. Plaintiff is informed
and believes, and upon such information and belief avers, that Defendants may be continuing to
send unsolicited advertisements via facsimile transmission in violation of the JFPA and the
regulations promulgated thereunder, and absent intervention by this Court, will do so in the
future.

32. The TCPA/JFPA provides a private right of action to bring this action on behalf
of Plaintiff and the Plaintiff Class to redress Defendants’ violations of the Act, and provides for
statutory damages. 47 U.S.C. § 227(b)(3). The Act also provides that injunctive relief is
appropriate Id.

33. The JFPA is a strict liability statute, so the Defendants are liable to the Plaintiff
and the other class members even if their actions were only negligent

34. The Defendants knew or should have known that (a) the Plaintiff and the other
class members had not given prior express invitation or permission for the Defendants or
anybody else to fax advertisements about the Defendants’ products, goods or services; (b) the
Plaintiff and the other class members did not have an established business relationship;
(c) Defendants transmitted advertisements; (d) the Faxes did not contain the required Opt-Out
Notice; and (e) Defendants’ transmission of advertisements that did not contain the required opt-
out notice or were sent without prior express invitation or permission was unlawful.

35. The Defendants’ actions caused damages to the Plaintiff and the other class
members. Receiving the Defendants’ junk faxes caused Plaintiff and the other recipients to lose
paper and toner consumed in the printing of the Defendants’ faxes, Moreover, the Defendants’

faxes used the Plaintiffs and the other class members’ telephone lines and fax machine. The

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Defendants’ faxes cost the Plaintiff and the other class members time, as the Plaintiff and the
other class members and their employees wasted their time receiving, reviewing and routing the
Defendants’ unauthorized faxes. That time otherwise would have been spent on the Plaintiffs
and the other class members’ business activities. The Defendants’ faxes unlawfully interrupted
the Plaintiffs and other class members’ privacy interests in being left alone.

WHEREFORE, Plaintiff, TICKLING KEYS. INC., individually and on behalf of all
others similarly situated, demands judgment in his favor and against Defendants,
TRANSAMERICA FINANCLAL ADVISORS, INC., WORLD FINANCIAL GROUP, INC.,
WORLD FINANCIAL GROUP INSURANCE AGENCY, INC. and JOHN DOES 1-5, jointly
and severally, as follows:

A. That the Court adjudge and decree that the present case may be properly
maintained as a class action, appoint the Plaintiff as the representative of the class, and appoint
the Plaintiff’s counsel as counsel for the class;

B. That the Court award actual monetary loss from such violations or the sum of five
hundred dollars ($500.00) for each violation, whichever is greater, and that the Court award
treble damages of $1,500.00 if the violations are deemed “willful or knowing”;

C. That Court enjoin the Defendants from additional violations; and

D. That the Court award pre-judgment interest, costs, and such further relief as the
Court may deem just and proper.

Respectfully submitted,
TICKLING KEYS, INC., individually, and as the
representative of a class of similarly-situated

persons

By: /s/ Ryan M. Kelly

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